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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RONALD C. TATUM,                   )
                                   )
      Plaintiff,                   )
                                   )                     Case No. 21-cv-06732
                  v.               )
                                   )
10 ROADS EXPRESS, LLC, 10 ROADS    )
SOUTH, LLC, GINO PRESTIA, and JEFF )                     Judge Sharon Johnson Coleman
NATELBORG,                         )
                                   )
      Defendants.                  )
                                   )
                                   )

                          MEMORANDUM OPINION AND ORDER

        Plaintiff Ronald C. Tatum (“Plaintiff”) filed his First Amended Complaint against

Defendants 10 Roads Express, LLC, 10 Roads South, LLC, Gino Prestia, and Jeff Natelborg

(“Defendants”) alleging illegal interference, denial of rights, and retaliatory termination of his

employment in violation of the Family and Medical Leave Act, 29 U.S.C. §§ 2601 et seq. (“FMLA”).

Plaintiff also alleges discriminatory termination under Title I of the Americans with Disabilities Act

of 1990 as amended, 42 U.S.C. §§ 12101 et seq. (“ADA”), the Age Discrimination in Employment

Act of 1967, as amended, 29 U.S.C. §§ 621 et seq. (“ADEA”), Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. §§ 2000e et seq. (“Title VII”), and the Illinois Worker’s Compensation

Act, 820 ILCS 305/1 et seq. (“IWCA”) against Defendants 10 Roads Express, LLC, and 10 Roads

South, LLC (“10 Roads Defendants”). Before the Court is Defendants’ motion for summary

judgment and Plaintiff’s partial motion for summary judgment. For the following reasons, the Court

grants in part, and denies in part Defendants’ motion for summary judgment [91] and denies

Plaintiff’s partial motion for summary judgment [95].




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BACKGROUND

        The following facts are undisputed. Plaintiff began his employment with Eagle Express

Lines, Inc. (“Eagle Express”) as a truck driver on April 13, 1998. In September 2020, Plaintiff’s

employment was transferred from Eagle Express to 10 Roads as part of the consolidation of several

companies. At the time of the incident, Plaintiff worked as a day shift lead weekend supervisor at

the Homewood, Illinois office. His job duties included “dispatching, making sure the driver had

their information, making sure everything was running smooth, report any call-offs, illnesses,

accidents, DOT stops.”

        On Octobert 24, 2020, Plaintiff began his shift at 6:00 a.m. During his shift, a driver for one

of Plaintiff’s assigned truck loads failed to show up for his shift. Upon discovering the issue, Gino

Prestia (“Prestia”), who worked in either operations or network sales, called Richard Patterson

(“Patterson”), the most senior employee working at the Homewood office at that time, to inquire

about the issue. Patterson approached Plaintiff’s desk to discuss the issue, but Patterson indicated

that he did not receive “much of an answer.” Prestia asked Patterson to bring Plaintiff to a

conference room so that he could talk with Plaintiff via telephone as Prestia was not physically at the

Homewood office. Around 2 p.m., Plaintiff attended the meeting in the conference room with

Patterson and Prestia. Prestia asked Plaintiff what he was working on. According to Prestia,

Plaintiff was unable to provide specifics about the load in question. Plaintiff thereafter left the

conference room and was followed by Patterson out of the building. At no time were the words

“terminated” or “fired” used.

        After Plaintiff walked out of the building, he got into his truck and texted his boss, Jeff

Natelborg (“Natelborg”), “Tapping out you win.” Plaintiff then called Natelborg who told Plaintiff

to calm down. Plaintiff thereafter went to the hospital where he received medical treatment and was

discharged on the same day.

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         At 8:21 pm that same evening, Plaintiff sent an email to Natelborg and Defendants’ leave of

absence department 1 claiming that he did not quit. Plaintiff also sent a text message to Natelborg at

8:43 pm claiming that he had an anxiety attack. During his deposition, Plaintiff testified that he was

feeling better the next day and asked Natelborg if he wanted Plaintiff to return to work on Monday,

October 26, 2020. Natelborg responded, “You are not to go in the office. HR will contact you on

Monday.”

         On October 26, 2020, Caitlin Ellis (“Ellis”), Defendants’ human resources director,

exchanged a series of emails with Natelborg and Prestia regarding Plaintiff. Prestia asked “if

[Plaintiff] resigned before going to the doctor, I would think that trumps worker’s comp[,] no?”

Ellis indicated that she planned to speak with Patrick Lafond (“Lafond”), Defendants’ workers’

compensation manager, to confirm their “bases were covered” and that Lafond felt “good not filing

a [workers’ compensation] claim unless [Plaintiff] pushes it.” Lafond informed Ellis that Defendant

did not need to file a workers’ compensation claim unless Plaintiff decided that he wanted to pursue

workers’ compensation.

         Shortly thereafter, Ellis emailed Natelborg and Prestia stating, “We touched base with Legal

and they support moving forward with accepting the resignation.” Ten minutes later, Ellis sent

another email stating, “I am going to put together a document for [Plaintiff] to sign off on

confirming his resignation. We will move forward with his separation regardless of whether or not

he decides to sign.”

         An hour later, Plaintiff emailed Natelborg, Prestia, and Defendants’ leave of absence

department stating, “My doctor wants me to get an MRI to make sure I didn’t have a min stroke

trying to get in tomorrow I can come in after that if it is ok.” Within minutes, Prestia emailed Ellis



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 In October 2020, when a worker claims to be hurt, the usual process was to turn the issue over to the leave of absence
or human resources team.

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asking if his team should respond. She replied that she would circle back with Plaintiff and that

Prestia “can disregard at this time.”

        The following day, on October 27, 2020, both Natelborg and Prestia emailed Ellis stating

that Plaintiff had been texting and calling them and that they advised Plaintiff not to come into the

office because he is not allowed in the office. Natelborg’s email included the statement: “He asked

why are we firing him due to a medical condition, I told him he quit to multiple individuals even

going so far as to turn in his key card.”

        That same day, Ellis called Plaintiff. During their conversation, Ellis testified that they

discussed that Plaintiff had not made a request for “any kind of leave” prior to his resignation. Ellis

testified that she did not discuss FMLA leave with Plaintiff as it is Defendants’ position that he was

no longer at employee. Plaintiff claims that he also had a conversation with Madison Throneberry

(“Throneberry”), Defendants’ general counsel, during which he requested FMLA leave. Plaintiff

claims that Throneberry informed him that he did not qualify for FMLA leave because he had quit.

On the same day, Natelborg completed the Employee Separation Notice indicating that Plaintiff had

“resigned without notice.” October 24, 2020, was listed as his last day of work.

        Prior to October 24, 2020, there is no record of Plaintiff experiencing an anxiety attack.

Since October 24, 2020, Plaintiff has not suffered an anxiety attack. Plaintiff has been working as a

full-time plumbing associate at Home Depot since April 13, 2021.

        On October 3, 2022, Plaintiff filed a workers’ compensation claim against Defendant.

Plaintiff claims that he did not file a worker’s compensation claim until October 2022 because he did

not think his medical issue from October 24, 2020 was covered.

        There are four main disputes in this lawsuit. First, whether Plaintiff suffered an anxiety

attack on October 24, 2020. Second, whether Plaintiff quit or was terminated on October 24, 2020.

Third, whether Heather McNair (“McNair”), another employee, is a similarly situated individual to

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Plaintiff. Fourth, whether Plaintiff adequately mitigated his damages following the end of his

employment with Defendant.

LEGAL STANDARD

         Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

Celotex Corp. v. Catrett, 477 U.S. 317, 322-23, 106 S. Ct. 2548, 91 L.Ed.2d 265 (1986). A genuine

dispute as to any material fact exists if “the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505,

2510, 91 L.Ed.2d 202 (1986). When determining whether there a genuine issue of material fact

exists, the Court must view all evidence and draw all reasonable inferences in favor of the

nonmoving party. Id. at 255; Hackett v. City of South Bend, 956 F.3d 504, 507 (7th Cir. 2020). After “a

properly supported motion for summary judgment is made, the adverse party ‘must set forth specific

facts showing that there is a genuine issue for trial.’” Anderson, 477 U.S. at 255 (citation omitted).

DISCUSSION

         Defendants’ motion for summary judgment seeks dismissal of Plaintiff’s First Amended

Complaint. Plaintiff’s partial motion for summary judgment seeks dismissal of Defendants’ failure

to mitigate affirmative defense.

    I.      Count I: Interference with and Denial of Rights in Violation of FMLA

         To establish a claim for FMLA interference, a plaintiff must prove that (1) he was eligible for

the FMLA’s protections; (2) his employer was covered by the FMLA; (3) he was entitled to leave

under the FMLA; (4) he provided sufficient notice of his intent to take leave; and (5) his employer

denied FMLA benefits to which he was entitled. Riley v. City of Kokomo, 909 F.3d 182, 188 (7th Cir.

2018). Defendants argue that Plaintiff was not eligible for FMLA leave under the first element, was

not entitled to FMLA leave under the third element, and that he did not provide sufficient notice of

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his intent to take FMLA leave under the fourth element. Plaintiff contends that his anxiety attack is

a “serious health condition” that entitled him to FMLA leave. The Court will analyze the third

element as the analysis is outcome determinative.

        An employee is entitled to FMLA leave if he suffers from “a serious health condition that

makes the employee unable to perform the functions of the position...” 29 U.S.C. § 2612(a)(1)(D).

The FMLA defines a “serious health condition” as “an illness, injury, impairment, or physical or

mental condition that involves – (A) inpatient care in a hospital, hospice, or residential medical care

facility; or (B) continuing treatment by a health care provider.” 29 U.S.C. § 2611(11). As Plaintiff

did not receive inpatient care, the question is whether Plaintiff received continuing treatment

following the medical care he received on October 24, 2020. To prove the existence of a “serious

health condition,” an employee must show that he was incapacitated, rendering him unable to work

for more than three consecutive calendar days. See 29 C.F.R. § 825.115.

        Plaintiff sought medical care on October 24, 2020. Plaintiff testified that he felt better the

following day. Plaintiff texted Natelborg asking if he wanted Plaintiff to come back to work on

Monday, October 26, 2020. The undisputed facts show that Plaintiff felt good enough to ask if he

should return to work on Monday, two days after he received treatment at the hospital. It is

reasonable to conclude that if Plaintiff felt better the following day and asked if he should return to

work on Monday, he was not incapacitated, rendering him unable to work, for more than three

consecutive, full calendar days. There was no period of incapacity and, therefore, Plaintiff did not

suffer from a “serious health condition.” The Court grants Defendants’ motion for summary

judgment on Count I. 2




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 As the Court grants Defendants’ motion for summary judgment on Count I, whether Natelborg and Prestia
are individually liable under Count I is moot.
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    II.        Count II: Retaliation in Violation of FMLA

           To prove a FMLA retaliation claim, a plaintiff must show (1) the employee was engaged in

statutorily protected activity; (2) the employer subjected him to an adverse action; and (3) the

protected activity caused the adverse action. See Riley, 909 F.3d at 188.

           Defendants argues that Plaintiff’s FMLA retaliation claim should be dismissed because he

does not meet the requirements to show that he suffered from a “serious health condition.”

Plaintiff argues that Defendants’ reason for denying Plaintiff’s FMLA request was pretextual based

on Defendants’ inconsistent statements. He also argues that the adverse action occurred on the

heels of “suspicious timing” as he engaged in FMLA protected activity when he requested and was

approved for FMLA leave in August 2020 and had three other health issues that required missing

work and/or claims for disability benefits in 2020, the most recent in October 2020.

           Plaintiff’s claim fails on the first element. Since the Court concluded that Plaintiff has not

adequately alleged that he suffered from a “serious health condition” on Count I, he cannot sustain a

FMLA retaliation claim because he is not covered by the statute. As Plaintiff did not suffer a

“serious health condition,” the Court need not address the merits of Plaintiff’s suspicious timing

argument. Accordingly, the Court grants summary judgment on Count II. 3

    III.       Count III: Disability Discrimination and Failure to Accommodate

           The ADA prohibits discrimination against “a qualified individual with a disability…” See 42

U.S.C. § 12112(a). An individual is considered to have a disability under the ADA if (1) he has an

impairment that substantially limits one or more of his major life activities; (2) he has a record of

such an impairment; or (3) his employer regards him as having such an impairment. See 42 U.S.C. §

12102(2). Temporary, short-term restrictions are not substantially limiting so as to support a finding



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 As the Court grants Defendants’ motion for summary judgment on Count II, whether Natelborg and Prestia
are individually liable under Count II is moot.
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of disability. See 42 U.S.C. § 12101 et seq. An individual is not regarded as having an impairment that

is transitory and minor, where the impairment has an actual or expected duration of 6 months or

less. 42 U.S.C. § 12102(3)(B). The main question is whether Plaintiff’s claimed anxiety attack on

October 24, 2020 rendered him disabled under the ADA.

          10 Roads Defendants argue that Plaintiff is not disabled because he did not have an anxiety

attack prior to October 24, 2020, and has not had one since. Plaintiff argues that he was

substantially limited in one or more major life activities on October 24, 2020 when he suffered the

anxiety attack and was therefore disabled.

          Plaintiff’s ADA claim fails because he cannot show that he is disabled under the statute.

Plaintiff claims that the anxiety attack he suffered on October 24, 2020 constituted a disability at the

time the anxiety attack occurred, yet it is undisputed that Plaintiff felt better the next day and asked

Natelborg if he should return to work. The temporary nature of Plaintiff’s anxiety attack, which was

treated within hours, is not considered a disability under the ADA. Vande Zande v. State of Wisconsin

Dept. of Admin., 44 F.3d 538, 543 (7th Cir. 1995) (“Intermittent, episodic impairments are not

disabilities…”). As Plaintiff is not disabled under the ADA, the Court grants summary judgment on

Count III.

    IV.      Age Discrimination

          The ADEA protects workers who are 40 years of age and older from age-based employment

discrimination. See 29 U.S.C. § 623(a)(1). The Seventh Circuit has determined that the test “is

simply whether the evidence would permit a reasonable factfinder to conclude that the plaintiff’s

[age] caused the discharge or other adverse employment action.” See Ortiz v. Werner Enterpriseds, Inc.,

834 F.3d 760, 765 (7th Cir. 2016). However, courts in this circuit still employ McDonnell Douglas as a

means of organizing, presenting, and assessing circumstantial evidence.” See David v. Bd. of Trustees of




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Comm. College Dist. No. 508, 846 F.3d 216, 224 (7th Cir. 2017). As Plaintiff’s ADEA claim involves

circumstantial evidence, the Court will employ the McDonnell Douglas framework.

        Under McDonnell Douglas, a plaintiff must prove that (1) he is a member of the protected

class; (2) his performance met defendant’s legitimate expectations; (3) he was subject to an adverse

employment action; and (4) defendant treated similarly situated employees outside of his protected

class more favorably. Faas v. Sears, Roebuck & Co., 532 F.3d 633, 641 (7th Cir. 2008). It is

undisputed that Plaintiff meets the first two prongs of the framework and there is a genuine dispute

of material fact concerning the third prong. Accordingly, the Court will evaluate whether the fourth

prong is satisfied.

        10 Roads Defendants argue that there is no evidence that they treated a similarly situated

employee outside of the protected class more favorably. Plaintiff argues that McNair, a younger

employee, was treated more favorably when she left during her shift because she was reinstated to

her position while Plaintiff was not. 10 Roads Defendants contend that McNair is not similarly

situated because she does not have the same job duties as Plaintiff and her response to the situation

drastically differed from Plaintiff’s.

        The undisputed facts show that McNair cleaned out her desk and left her shift early. She

texted her supervisor, Nick Orlando (“Orlando”), that she was “done.” She also texted Orlando

that she would return the following day and talk to Natelborg about her situation as Orlando was on

vacation at the time. McNair met with Natelborg the following day. During their conversation,

McNair discussed the dispatch issues and personal issues that caused her to leave in the middle of

her shift. Natelborg and McNair discussed stress management and areas of improvement.

Following their discussion, McNair informed Natelborg that she wanted to continue her

employment despite her statements the previous day. McNair was allowed to return to work. At




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the time, McNair was working as a lead dispatcher. She did not supervise any employees nor did her

job duties require her to make any “final calls.”

          On October 24, 2020, Plaintiff was a 59-year-old man. 4 McNair’s deposition testimony

confirms that she was 44 years old at the time. See McNair Dep. Tr., 22:25 – 23:3. The ADEA

protects all individuals over the age of 40. See 29 U.S.C. § 623(a)(1). Because Plaintiff and McNair

were both protected under the statute, the fourth prong is not satisfied. The Court grants

Defendant’s motion for summary judgment on Count IV.

     V.      Count V: Sex Discrimination

          The Seventh Circuit has recognized that “discrimination by employers against white men is a

less common phenomenon than discrimination against minorities.” Phelan v. City of Chicago, 347 F.3d

679, 684 (7th Cir. 2003) (citing Mills v. Health Care Service Corp., 171 F.3d 450, 456-57 (7th Cir. 1999). 5

Accordingly, “reverse” sex discrimination claims asserted by male plaintiffs are subject to a modified

test. See Mills, 171 F.3d at 457. As with Plaintiff’s ADEA claim, the Court will employe the

modified McDonnell Douglas framework to evaluate Plaintiff’s sex discrimination claim.

          Under this modified test, a plaintiff must show that (1) “background circumstances exist to

show an inference that the employer has reason or inclination to discriminate invidiously against

[men] or evidence that there is something ‘fishy’ about the facts at hand; (2) he was meeting his

employer’s legitimate performance expectations; (3) he suffered an adverse employment action; and

(4) he was treated less favorably than similarly situated individuals who are not members of his

protected class.” Formella v. Brennan, 817 F.3d 503, 511 (7th Cir. 2016). While there was a dispatch

issue for one of Plaintiff’s loads that led to the end of Plaintiff’s employment, there is seemingly no


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  The First Amended Complaint, filed in October 2022, states that Plaintiff is a 61-year-old man. Since the
events that gave rise to the claims in the First Amended Complaint occurred in October 2020, the Court can
reasonably infer that Plaintiff was 59 at the time of the Incident.
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  Despite Plaintiff’s argument that “reverse” sex discrimination claims should be subject to the same test as
sex discrimination claims, the Court will apply the modified test recognized by the Seventh Circuit.
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dispute about the second prong. While the parties dispute whether the three remaining prongs are

satisfied, the Court will focus its analysis on the fourth prong as the analysis is outcome

determinative.

        To show that an employee is “similarly situated” to the plaintiff, the employee must be

“directly comparable in all material respects.” Ineichen v. Ameritech, 410 F.3d 956, 960 (7th Cir. 2005).

This requires a plaintiff to show not only that the employee reported to the same supervisor,

engaged in the same conduct, and had the same qualifications, but also show that there were no

differentiating or mitigating circumstances that would distinguish the employer’s treatment of

plaintiff. Ineichen, 410 F.3d at 960-61.

        10 Roads Defendants argue that Plaintiff and McNair are not similarly situated because

McNair’s supervisor was Orlando while Plaintiff’s was Natelborg; Natelborg only handled McNair’s

reinstatement because Orlando was on vacation. 10 Roads Defendants also contend that Plaintiff

and McNair are not similarly situated because Plaintiff was a supervisor who made “final calls” while

McNair was not a supervisor and only made “final calls” if there was no supervisor present. Lastly,

10 Roads Defendants contend that Plaintiff and McNair did not engage in similar conduct as

McNair’s response to her situation differed from that of Plaintiff’s through her conduct and

willingness to communicate. Plaintiff alleges that he is similarly situated to McNair because

Natelborg, Plaintiff’s supervisor, acted as McNair’s supervisor when he made the decision to

reinstate McNair’s employment, McNair and Plaintiff both engaged in similar conduct by leaving

during their shift, McNair and Plaintiff had the same qualifications and job responsibilities, and that

there were no differentiating factors between McNair and Plaintiff that would necessitate

differentiating treatment.

        Several facts distinguish Plaintiff’s situation from McNair. It is undisputed that Plaintiff’s

supervisor was Natelborg while McNair’s was Orlando. The facts clearly show that Natelborg was

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substituting in for Orlando when he made the decision to allow McNair to return to work despite

her abrupt departure. Additionally, Plaintiff and McNair did not have similar duties. Plaintiff was a

supervisor with a direct report while McNair had no supervisory responsibility as a lead dispatcher.

Although the same conduct and differentiating/mitigating factors analyses may not be as

straightforward, a similarly situated employee “must be directly comparable in all material respects.”

See Ineichen, 410 F.3d at 960-61. The undisputed facts show that, as a minimum, Plaintiff and

McNair had different jobs and supervisors. This is enough to conclude that they are not similarly

situated to one another and the fourth prong is not satisfied. The Court finds that summary

judgment is proper on Count V.

    VI.      Count VI: Retaliatory Discharge Under IWCA

          To maintain a claim for retaliatory discharge, an employee must prove: “(1) his status as an

employee of the defendant before injury; (2) his exercise of a right granted by the Workers’

Compensation Act; and (3) a causal relationship between his discharge and the exercise of his right.”

Gordon v. FedEx Freight, Inc., 674 F.3d 769, 773 (7th Cir. 2012). There are several ways an employee

can exercise a right under the IWCA. See Gordon, 674 F.3d at 773. Relevant here is where an

employee exercises a right under the IWCA merely by requesting and seeking medical attention. Id.

at 773.

          10 Roads Defendants argue that Plaintiff’s IWCA application was filed two years after the

end of his employment and therefore, he is not entitled to worker’s compensation. 10 Roads

Defendants also contend that Plaintiff did not request and seek medical attention for his anxiety

attack because he did so after he resigned, so there is no causal connection to any alleged discharge.

Plaintiff argues that 10 Roads Defendants communications concerning whether they had to file a

worker’s compensation claim show that the true motive for “accepting” the alleged resignation was

to avert a worker’s compensation claim.

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        While there is a genuine dispute as to whether Plaintiff quit or resigned on October 24, 2020,

it is undisputed that, on the same day, Plaintiff emailed Natelborg and Defendants’ leave of absence

department indicating that he had a meltdown and received medical treatment for stress and anxiety

disorder. Further undisputed, on October 26, 2020, Prestia, Natelborg, and Ellis exchanged several

emails regarding a potential worker’s compensation claim. Prestia specifically asked, “if [Plaintiff]

resigned before going to the doctor, I would think that trumps any workers comp[,] no?” Ellis told

Prestia and Natelborg that she wanted to speak with Lafond to confirm that their bases were

covered and that he felt good about not filing a worker’s compensation claim unless Plaintiff pushed

it. Ellis also informed Prestia and Natelborg that Legal supported moving forward with accepting

Plaintiff’s resignation whether or not Plaintiff decided to sign the separation agreement.

        While these communications were occurring, Plaintiff separately sent an email to

Defendants’ leave of absence and human resources departments, Natelborg, and Prestia stating, “My

doctor wants me to get an MRI to make sure I didn’t have a min stroke trying to get in tomorrow I

can come in after if that’s ok.” There was no response to that email. The following day, on

October 27, 2020, Plaintiff was informed that Defendants accepted his resignation, the final date of

employment listed as October 24, 2020. When Plaintiff spoke with Ellis on the same day, she did

not ask him whether he intended to file a worker’s compensation claim.

        10 Roads Defendants were aware that Plaintiff sought and received medical treatment on

October 24, 2020, and were aware that Plaintiff was planning to get an MRI on October 27, 2020.

Further, despite the final date of employment listed as October 24, 2020 on the separation

agreement, the Ellis, Prestia, and Natelborg communications on October 26, 2020 suggest that 10

Roads Defendants had not yet accepted the resignation based on Prestia’s email stating “if [Plaintiff

resigned before going to the doctor…” Clearly, there is a genuine dispute of material fact as to

whether Plaintiff’s employment actually ended on October 24, 2020.

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        Additionally, Plaintiff’s emails suggest that he was unaware that he was no longer an

employee until October 27, 2020. At a minimum, 10 Roads Defendants knew that Plaintiff

requested medical attention in the form of an MRI on October 26, 2020, but a jury could conclude

that the medical attention Plaintiff received on October 24, 2020 was covered by the IWCA. As

Plaintiff received the separation agreement on October 27, 2020, a jury could conclude that Plaintiff

still believed he was an employee when he requested MRI treatment on October 26, 2020 and that

the October 24, 2020 and October 26, 2020 requested medical treatment was casually connected to

an alleged discharge. Accordingly, the Court denies summary judgment on Count VI.

    VII.    Failure to Mitigate Damages Affirmative Defense

        Plaintiff filed a partial motion for summary judgment on Defendants’ failure to mitigate

damages affirmative defense.

        Although the duty to mitigate falls on the plaintiff, a defendant must establish that the

plaintiff failed to mitigate his damages. See Hutchinson v. Amateur Elec. Supply, Inc., 42 F.3d 1037, 1044

(7th Cir. 1994). To establish a failure to mitigate damages affirmative defense, a defendant must

show that (1) plaintiff failed to exercise reasonable diligence to mitigate his damages; and (2) there

was a reasonable likelihood that plaintiff might have found comparable work by exercising

reasonable diligence. Hutchinson, 42 F.3d at 1044.

        Plaintiff argues that Defendants have not satisfied the elements for the affirmative defense

because Plaintiff continued to job search while working at Home Depot by submitting his resume

through Indeed and talking with contractor-customers about potential jobs at Home Depot. In

support of his motion, Plaintiff submits an affidavit stating that Plaintiff has spent 10-15

hours/week applying to jobs, had six interviews while working at Home Depot, and applied to 50-

75 jobs since his employment with Defendants ended. Defendants argue that Plaintiff did not

satisfy his duty to mitigate because his background and experience, namely 20 years of experience in

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the freight shipping industry and his prior supervisory role while working for Defendants, suggests

that he could have found a comparable job, but instead took a lower-paying job at Home Depot.

        Separately, Defendants ask the Court to disregard the Plaintiff’s affidavit, attached to his

partial motion for summary judgment, arguing that it contradicts his deposition testimony.

Defendants allege that Plaintiff testified that he only had one interview with a towing company since

his employment ended. However, his affidavit states that he had six interviews. Plaintiff contends

that the affidavit does not contradict his deposition testimony because discovery documents showed

Plaintiff’s job search, but Defendants failed to ask the correct questions. Plaintiff also argues that

the affidavit supplements his deposition testimony because he did not provide a clear answer to an

unambiguous question, which would be grounds for excluding the affidavit. The Court will address

the affidavit issue first.

        The sham affidavit rule prohibits a party from submitting an affidavit that contradicts the

party’s prior deposition or other sworn testimony. James v. Hale, 959 F.3d 307, 316 (7th Cir. 2020).

        The Court is not persuaded by Plaintiff’s argument. Here, Plaintiff’s affidavit provides

contradictory information about the number of job interviews Plaintiff had. This contradiction does

not concern minor details. The gravamen of Defendants’ failure to mitigate affirmative defense is

that Plaintiff did not satisfy his duty to mitigate his damages by securing comparable employment.

This entails a context-sensitive, fact-bound inquiry into the steps Plaintiff took to find comparable

employment and whether such steps were reasonable. See James, 959 F.3d at 316-27. There is no

suggestion that the affidavit contains newly discovered evidence, that it contradicts a statement that

was demonstrably mistaken, nor does the affidavit clarify unambiguous or confusing deposition

testimony that would fall into one of the exceptions to the sham affidavit rule. See id. at 317. To the

contrary, Plaintiff admits that the evidence supporting his affidavit was part of the record at the time

of Plaintiff’s deposition. The Court concludes that the affidavit should be disregarded.

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        Further, the Court is not convinced that the evidence unequivocally shows that Defendants

failed to plead their failure to mitigate damages affirmative defense. Plaintiff’s cited caselaw does

not support such conclusion. The Court has reviewed all of Plaintiff’s cited caselaw and finds the

following cases most relevant to its conclusion. In Coffey v. DSW Shoe Warehouse, Inc., the court

determined that defendant failed to offer evidence to meet its burden. 145 F.Supp.3d 771, 779.

Here, however, Defendants cite Plaintiff’s 20 years of experience in the freight shipping industry and

his supervisory role to show that his experience and background suggest that he could have secured

a comparable role. As support, Defendants reference discovery documents from Plaintiff’s job

search to show the availability of jobs at freight companies. Additionally, in Gracia v. Sigmatron

International, Inc., the court analyzed the failure to mitigate defense following a jury trial, not at the

summary judgment stage. 130 F.Supp.3d 1249, 1256-58 (7th Cir. 2015). In Ortega v. Chi. Bd. of Edu.,

Judge Durkin analyzed the defense following a post-jury verdict equitable relief hearing. 280

F.Supp.3d 1072, 1077 (N.D. Ill. 2017) (Durkin, J.).

        At this stage in the litigation, the facts do not permit this Court to grant summary judgment

on Defendant’s failure to mitigate affirmative defense. In other words, there is no undisputed

evidence to make a finding that Plaintiff failed to mitigate damages. Such inquiry is better suited for

a jury. Accordingly, the Court denies Plaintiff’s partial motion for summary judgment.

CONCLUSION

        For these reasons, the Court grants in part, and denies in part, Defendants’ motion for

summary judgment [91] and denies Plaintiff’s partial motion for summary judgment [95].

IT IS SO ORDERED.

Date: 12/17/2024

                                                  Entered: _____________________________
                                                           SHARON JOHNSON COLEMAN
                                                           United States District Judge

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